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                                       ORDERED.


         Dated: May 09, 2019




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION
In re:

THOMAS EDWARD GRANT, JR.                                     CASE NO. 19-bk-01085-JAF
                                                             CHAPTER 7
                  Debtor.
_______________________________/

                      ORDER GRANTING MOTION FOR ORDER
                CONFIRMING THE AUTOMATIC STAY IS NOT IN EFFECT

          THIS CASE came on for consideration without a hearing on the Motion for Order

Confirming the Automatic Stay is not in Effect (“Motion”) filed by Exeter Finance, LLC

(“Movant”) (Doc. No. 7), pursuant to the negative notice provisions of Local Rule 2002-4. Having

considered the Motion and the absence of any record objection to the relief requested in the Motion

by any party in interest, the Court deems the Motion to be uncontested. Accordingly, it is

          ORDERED:
          1.     The Motion (Doc. No. 7) is granted.
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        2.      The automatic stay arising by reason of 11 U.S.C. §362 of the Bankruptcy Code is

terminated as to Movant’s interest in the following property: 2016 Toyota Corolla Sedan 4D L I4;

VIN: 2T1BURHE9GC490360 (“collateral”).

        3.      Movant has in rem relief to take any and all steps necessary to exercise any and all

rights it may have in the collateral, to gain possession of said collateral, to have such other and

further in rem relief as is just, but the Movant shall not obtain in personam relief against the Debtor.

                                                 ###
Attorney Gavin Stewart is directed to serve a copy of this order on non-CM/ECF interested parties
and file a proof of service within 3 days of entry of the order.
